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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                             SAN ANGELO DIVISION

UNITED STATES OF AMERICA,
   Plaintiff,

                                                         NO. 6:20-CR-019-01-H

PEDRO FLORES GALVAN (1),
  Defendant.


                ORDER ACCEPTING REPORT AI\D RXCOMMENDATION
                   OF TIIE UNITED STATES MAGISTRATE JUDGE
                          CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magisuate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$ 636OXl), the undersigned Disrict Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court's scheduling order'

       SO ORDERED.

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                                           JAME          LEYHENDRIX
                                                   D STATES DISTRICT ruDGE
